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 Counsel for Gregory Greene and Joseph Lack

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                            § Chapter 15
                                                   §
 MtGox Co., Ltd. (a/k/a MtGox KK)                  § Case No. 14-31229-sgj-15
                                                   §
          Debtor in a Foreign Proceeding           §
                                                   §

    NOTICE OF HEARING ON REQUEST FOR EXPEDITED CONSIDERATION OF
      CREDITORS GREGORY GREENE AND JOSEPH LACK’S MOTION FOR
                 TERMINATION OF PROVISIONAL RELIEF

          PLEASE TAKE NOTICE that a hearing on the Motion for Setting and Request for

 Expedited Hearing on Creditors Gregory Greene and Joseph Lack’s Motion for Termination of

 Provisional Relief [Docket No. 38] has been set for Tuesday, April 1, 2014 at 1:30 p.m. before

 the Honorable Stacey G. Jernigan, United States Bankruptcy Court, 1100 Commerce Street,

 Room 1428, Courtroom #1, Dallas, Texas 75242.




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 Dated: March 26, 2014

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on March 26, 2014 a true and correct copy of the
 foregoing document was served (i) upon all parties on the attached Service List in the manner
 indicated, and (ii) via e-mail upon the parties that receive electronic notice in this case pursuant
 to the Court’s ECF filing system:


                                                      /s/ Robin E. Phelan
                                                      Robin E. Phelan




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